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              IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division
____________________________________
                                     :
SZY HOLDINGS, LLC,                   :
                                     :
      and                            :
                                     :
FARFROMBORINGPROMITIONS.COM, :
LLC,                                 :
            Plaintiffs,              :    Civil Case No. 1:20-cv-01475-LO-JFA
                                     :
      v.                             :
                                     :
IPF SOURCING LLC,                    :
                                     :
RICO GARCIA,                         :
                                     :
      and                            :
                                     :
HAMSA HOLDINGS, LLC                  :
            Defendants.              :
____________________________________:

      MOTION OF ALEXANDER P. FAIG TO WITHDRAW AS COUNSEL OF
     DEFENDANT RICO GARCIA AND DEFENDANT HAMSA HOLDINGS, LLC

       Pursuant to Local Rule 83.1(G), Alexander P. Faig respectfully moves this Court for

leave to withdraw as Attorney of Record for Defendant Rico Garcia and Defendant Hamsa

Holdings, LLC (collectively “Defendants Garcia and HH”). Movant certifies that reasonable

notice has been given to Defendant Rico Garcia and Defendant Hamsa Holdings, LLC.

       1.     On April 14, 2022, Defendants Garcia and HH retained Movant and Movant filed

his Notice of Appearance as counsel for Defendants Garcia and HH.

       2.     On April 15, 2022, Movant appeared at a default judgment hearing in this case on

Defendants Garcia and HH’s behalf. At the hearing, the Court continued the hearing on

Plaintiff’s Motion for Default Judgment and permitted Defendants Garcia and HH to file a
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Motion to Set Aside Entry of Default by April 29, 2022.

        3.      On April 21, 2022, Movant was discharged by Defendants Garcia and HH.

        4.      Local Rule 83.1(G) provides that an attorney shall not withdraw an appearance in

any civil action “except on order of the Court and after reasonable notice to the party on whose

behalf said attorney has appeared.” Local Rule 83.1(I) provides that the Virginia Rules of

Professional Conduct governs “the ethical standards relating to the practice of law in civil

cases[.]”

        5.      Rule 1.16(a)(3) of the Virginia Rules of Professional Conduct provides that

“where representation has commenced, [a lawyer] shall withdraw from the representation of a

client if . . . the lawyer is discharged.”

        6.      As noted above, Movant was discharged by Defendants Garcia and HH—this

Motion is with their consent and at their direction. The parties on whose behalf Movant has

appeared are thus on reasonable notice.

        WHEREFORE, Movant respectfully requests that the Court enter an Order permitting

him to withdraw as counsel of record for Defendant Rico Garcia and Defendant Hamsa

Holdings, LLC. A proposed order is attached hereto as Exhibit A.

Date: April 22, 2022                                 Respectfully Submitted,

                                                     /s/Alexander P. Faig
                                                     Alexander P. Faig
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                                                     VA Bar No. 96248
                                                     Counsel for Rico Garcia and Hamsa
                                                     Holdings, LLC
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of April, 2022, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to the following:

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